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AO91 (Rev. 11/11) Criminal Complaint

                                United States District Court
                                                                      for the
                                                        Southern District of Texas


         UNITED STATES OF AMERICA                                     )
                    V.                                                )
                  CRAFT, Cierra Cachet                                )         Case Number:
                     Houston, TX.                                     )
                                                                      )

                                                     CRIMINAL COMPLAINT
        I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 On or about the date(s) of               June 29, 2018            in the county of                Webb         in the
                                                          (Date)
              Southern                 District of Texas, the defendant(s) violated:

               Code Section                                                       Offense Description
   Title 8 United States Code, Section            A United States Citizen did unlawfully transport Brazilian nationals Tiago
                                                  PEREIRA-Silva, Washington NUNES-Andrade Filho, and eight (8) other
   1324                                           undocumented aliens by means of motor vehicle within the Southern District of
                                                  Texas, knowing or in reckless disregard of the fact that said aliens had come to,
                                                  entered, or remained in the United States in violation of law, and transported or
                                                  moved or attempted to transport or move said aliens within the United States by
                                                  means of transportation or otherwise in furtherance of such violation of law.
                                                  The defendant conspired to transport the aforementioned aleins.


    This criminal complaint is based on these facts:
    See attachment "A".




        X         Continued on the attached sheet.

                                                                                /s/ Bernardo Trad
                                                                          Complainant's Signature


                                                                          Bernardo Trad, HSI Task Force Officer
                                                                          Printed Name and Title


    Sworn to before me and signed in my presence,

Date:              July 2, 2018
                                                                                                    Judge's Signature

City and State:      Laredo, Texas                                          Diana Song Quiroga, U.S. Magistrate Judge
                                                                                              Printed Name and Title
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UNITED STATES OF AMERICA                                                                 Page 2
           V.
   CRAFT, Cierra Cachet

[CONT OF BASIS OF COMPLAINT]
On June 29, 2018, at approximately 6:30 A.M., United States Border Patrol Agents (BPAs) assigned to the Laredo North 
Border Patrol Checkpoint located on Interstate Highway (IH) 35 North, approximately 29 miles north of Laredo, Texas, 
encountered Cierra Cachet CRAFT, a United States Citizen, at the primary tractor‐trailer immigration inspection lane.  
CRAFT approached the immigration checkpoint driving a white, tractor‐trailer combination.

While conducting an immigration inspection of CRAFT, the BPA noticed the curtains separating the driver'ss and 
sleeper area of the cabin were closed.  The BPA then asked CRAFT if there was anybody else inside the sleeper area, 
and she replied there was not.  The BPA asked CRAFT if she could open the curtain, which she consented and slid the 
curtain open.  At that point the BPA noticed several blankets throughout the cabin, in what seemed an attempt to 
conceal something.  The BPA called for a BPA and his service canine to his lane, and as the BPA canine team arrived, a 
non‐intrusive free air sniff of the tractor was conducted which resulted in an alert to concealed humans and/or 
narcotics in the sleeper area of the tractor.  CRAFT was then asked to step down from the tractor to allow the BPA to 
check the sleeper area.  A search of the sleeper area revealed ten (10) undocumented aliens (UDAs) attempting to 
conceal themselves underneath the blankets.   CRAFT and the ten (10) UDAs were escorted into the Border Patrol 
Checkpoint for processing.  

Homeland Security Investigations (HSI) Laredo agents were contacted and notified of the above listed events.

HSI Laredo Special Agents (SAs) responded to the Border Patrol checkpoint to interview all subjects involved in the 
smuggling attempt.

CRAFT was read her Miranda Rights in the English language which CRAFT acknowledged and agreed to provide a 
statement without the presence of an attorney.  

CRAFT was recruited a couple of weeks ago to smuggle UDAs by a person known only as “LOS”.  CRAFT stated she 
initially declined to transport UDAs, however, after negotiating, “LOS” paid CRAFT one‐thousand ($ 1,000.00) U.S. 
Dollars per UDA, up front, for the UDAs to be taken through the immigration checkpoint to Mile Marker 144 of IH 35.  

On June 29, 2018, at approximately 5:45 A.M. CRAFT arrived at an agreed upon address.  Shortly thereafter, a white 
Ford F150 parked in front of CRAFT's tractor, and unknown number of persons exited the Ford F150, entering the 
tractor through the passenger‐side door, while CRAFT sat in the driver seat.  A zip‐lock bag with an unknown amount 
of money was given to CRAFT at that time by an unknown person.  Craft stated the UDAs concealed themselves 
underneath blankets in the sleeper area of the cabin, and, after everyone was concealed CRAFT travelled onto IH 35 
until reaching the United States Border Patrol Checkpoint.  

HSI SAs interviewed Brazilian nationals Tiago PEREIRA‐Silva and Washington NUNES‐Andrade Filho whom are held as 
material witnesses in the case against CRAFT.

PEREIRA‐Silva stated he made arrangements with an unknown human smuggler to be taken to Boston 
(Massachusetts) for a total of twenty‐thousand ($20,000.00) U.S. Dollars to be paid upon arriving in Boston.  

NUNES‐Andrade Filho stated his friend, Tiago PEREIRA‐Silva, made arrangements with an unknown human smuggler 
to be taken to Boston for twenty‐thousand ($20,000.00) U.S. Dollars as well, to be paid upon reaching Boston.  

Both PEREIRA‐Silva, and NUNES‐Andrade Filho identified CRAFT as the driver of the tractor‐trailer via six (6) person 
photo‐array.  

A zip‐lock bag containing ten‐thousand ($10,000.00) U.S. Dollars was seized by the United States Border Patrol which 
was handed over by CRAFT to BPAs.   
                                                                                                             [END]
